Case 18-68479-pmb             Doc 59    Filed 06/27/19 Entered 06/28/19 15:11:20                        Desc Main
                                        Document     Page 1 of 2
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                               UNITED STATES BANKRUPTCY COURT
                                NORTHERN DISTRICT OF' GEORGIA
                                       ATLANTA DIVISION

           IN RE:                                                  CASE NO. I 8-68479-PMB

          JAMES EDWARD CARTER, IV                                  CHAPTER II

                    Debtor.



                      CLASS 4 BALLOT FOR ACCEPTING OR REJECTING
                                PLAN OF REORGANIZATION


           James Edward Carter, IV filed an Amended Plan of Reorganization dated May .7, 2019 (the
   "Plan") (Doc. 48) for the Debtor in this case. The Court has approved a disclosure statement with respect
   to the Plan (the "Disclosure Statement"). The Disclosure Statement provides information to .assist you in ;
   deciding how: to vote your ballot and is included in this nitkiling. CourLapproval of the disclosure,,
   statement does not indicate: approval of the Plan by the Court,

           You should review the Disclosure Statement and the Plaif before: you vote. You may wish to
   seek legal advice concerning. the Plan and your„classification-at'id treatment under theTlan.our
   Claim has .been placed in Class 4 under the Plan If you hold ckiinis or equity .interests in more than
   one class; you will receive:a ballot for each.closs in'which You.  entitled to vote.

          If your ballot is not received by The Clerk of the Bankruptcy Court or filed via ECF system
   on or before JULY 5, 2019 and such dead.line'is not extended, yourvoteovill not count as either an
   acceptance or rejection of the Plan..

          If the Plan is confirmed by the Bankruptcy Court, it will he binding on you whether.or not
   you vote.
Case 18-68479-pmb         Doc 59       Filed 06/27/19 Entered 06/28/19 15:11:20                 Desc Main
                                       Document     Page 2 of 2




                        ACCEPTANCE OR REJECTION OF THE PLAN
   The undersigned, the holder of a Class 4 claim against the Debtor in the unpaid amount of:
            $26,890.92 American Express National Bank
            Account Ending: 1004




             (Check one box only)

             0 ACCEPTS THE PLAN                                           REJECTS THE PLAN

   Dated:
            June 24, 2019


                                    Print or type name:                               ver
                                    Signature:
                                    Title (if corporation or partn p Attor 44:Ir   gent for creditor
                                    Address:               c/o Becket & Lee L ,    PO Box1001, Malvern PA 19355




    RETURN THIS BALLOT TO:

    United States Bankruptcy Court for the Northern District of Georgia
    Clerk of Bankruptcy Court
    75 Ted Turner Drive, SW
    Room 1340
    Atlanta, GA 30303                       With email copy to: hs@atl.law
